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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
 SUPERB MOTORS INC., TEAM AUTO SALES LLC,
 ROBERT ANTHONY URRUTIA, 189 SUNRISE                                 Case No.: 2:23-cv-6188 (OEM) (JMW)
 HWY AUTO LLC, NORTHSHORE MOTOR
 LEASING, LLC, BRIAN CHABRIER, individually and                      PLAINTIFFS’ MEMORANDUM
 derivatively as a member of NORTHSHORE MOTOR                        OF LAW IN SUPPORT OF THEIR
 LEASING, LLC, JOSHUA AARONSON, individually                         MOTION TO DISQUALIFY HARRY
 and derivatively as a member of 189 SUNRISE HWY                     R. THOMASSON, ESQ. FROM
 AUTO, LLC, JORY BARON, 1581 HYLAN BLVD                              REPRESENTING DEFENDANTS
 AUTO LLC, 1580 HYLAN BLVD AUTO LLC, 1591
 HYLAN BLVD AUTO LLC, 1632 HYLAN BLVD
 AUTO LLC, 1239 HYLAN BLVD AUTO LLC, 2519
 HYLAN BLVD AUTO LLC, 76 FISK STREET
 REALTY LLC, 446 ROUTE 23 AUTO LLC and
 ISLAND AUTO MANAGEMENT, LLC,

                                        Plaintiffs,

                  -against-

ANTHONY DEO, SARAH DEO, HARRY
THOMASSON, DWIGHT BLANKENSHIP, MARC
MERCKLING, MICHAEL LAURIE, THOMAS
JONES, CPA, CAR BUYERS NYC INC., GOLD
COAST CARS OF SYOSSET LLC, GOLD COAST
CARS OF SUNRISE LLC, GOLD COAST MOTORS
AUTOMOTIVE GROUP LLC, GOLD COAST
MOTORS OF LIC LLC, GOLD COAST MOTORS OF
ROSLYN LLC, GOLD COAST MOTORS OF
SMITHTOWN LLC, UEA PREMIER MOTORS
CORP., DLA CAPITAL PARTNERS INC., JONES,
LITTLE & CO., CPA’S LLP, FLUSHING BANK, and
LIBERTAS FUNDING LLC,

                                         Defendants.
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                            PRELIMINARY STATEMENT

       Defendant, Harry R. Thomasson, Esq. (“Thomasson”) – who maintained an office within

the dealership of Superb Motors Inc. (“Superb”), during which time he represented Superb,

Defendants Anthony Deo (“Deo”) and his cohort, engaged in conduct central to this litigation and

had first hand witness account of their activities – must be disqualified from representing his co-

Defendants in this case based on the witness-advocate rule1 since he will testify about necessary

matters in connection with the claims and defenses raised herein. Thomasson must also be

disqualified due to a conflict of interest he has with his co-Defendants, as well as an inherent

conflict of interest he has arising out of his prior representation of Superb and Northshore, on the

one hand, and due to his status as a Defendant in this case, on the other.

                                          FACTS

       On August 17, 2023, Plaintiffs2 – a consortium of two separate automobile dealership

groups and their principals – filed suit against Defendants – including individuals who served as

general managers of Plaintiffs’ dealerships, together with those that supported the general

managers – for violations of the Racketeer Influenced and Corrupt Organizations Act (“RICO”),

the Defend Trade Secrets Act (“DTSA”), and related common law claims under state law. See

ECF Docket Entry 1; see also ECF Docket Entry 65 (amended complaint).



1
  The witness-advocate rule is codified in § 3.7 of the New York Rules of Professional Conduct
(“RPC”).
2
  Plaintiffs Superb Motors Inc., Team Auto Sales LLC, and Robert Anthony Urrutia are
collectively hereinafter referred to as the “Superb Plaintiffs,” while Plaintiffs 189 Sunrise Hwy
Auto LLC, Northshore Motor Leasing, LLC, 1581 Hylan Blvd Auto LLC, 1580 Hylan Blvd Auto
LLC, 1591 Hylan Blvd Auto LLC, 1632 Hylan Blvd Auto LLC, 1239 Hylan Blvd Auto LLC, 2519
Hylan Blvd Auto LLC, 76 Fisk Street Realty LLC, 446 Route 23 Auto LLC, Island Auto
Management, LLC, Brian Chabrier, Joshua Aaronson, and Jory Baron are collectively hereinafter
referred to as the “IAG Plaintiffs,” with the Superb Plaintiffs and IAG Plaintiffs collectively
hereinafter referred to as the Plaintiffs.
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       Plaintiffs allege, inter alia, that Defendant Thomasson aided, abetted, and was complicit

in Defendants’ unlawful scheme to saddle Plaintiff Northshore Motor Leasing, LLC

(“Northshore”) with $735,000.00 in debt and then convert those funds to Deo which he used to

purchase shares of Superb, and otherwise conspired with the Defendants to engage in fraud. Id. at

¶¶ 136-147, 156-162. Specifically, Deo, without authority and through fraudulent means, secured

a loan on behalf of Northshore from Libertas Funding LLC (“Libertas”)3 in the amount of

$735,000.00 (in exchange for $1,000,000.00 of Northshore’s future receivables). See NYSCEF

Docket Entry 53.4 With regard to this loan which was improperly obtained by Deo, Thomasson

unlawfully utilized his attorney escrow account to launder the proceeds from the fraudulently

obtained loan as well as other fraudulent transactions, such as facilitating the fraudulent schemes

perpetrated by the Defendants as outlined in Plaintiffs’ pleadings and supporting various causes of

action against Thomasson. Id. at ¶¶ 160-162, 182, 220, 229, 236-237. After Thomasson laundered

these funds through his attorney escrow account he turned them over to Deo who used the funds

to purchase an interest in Superb. Thomasson’s immediate delivery of these funds to Deo not only

supports the aforementioned claims, but supports separate claims against Thomasson by the IAG

Plaintiffs for contribution and indemnification for any potential liability to Libertas which,

heretofore, asserted claims against the IAG Plaintiffs for the return of the $735,000 which they

placed with Thomasson requesting and expecting that he would hold these funds in escrow pending

resolution of the dispute as to the rightful owner of said funds.



3
  Libertas is a merchant cash advance business which is involved in purchasing accounts
receivables by advancing funds upfront in exchange for collecting a greater amount in receivables.
4
 All NYSCEF Docket Entries refer to Chabrier, et al. v. Deo, et al., Index No.: 617224/2022 (Sup.
Ct., Nassau Cty.), and federal courts may take judicial notice of the existence of state court
documents. See Kramer v. Time Warner Inc., 937 F.2d 767, 773 (2d Cir. 1991); see also Int’l Star
Class Yacht Racing Ass’n v. Tommy Hilfiger U.S.A., Inc., 146 F.3d 66, 70 (2d Cir. 1998).


                                                  2
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       In addition, Thomasson, who maintained an office inside the dealership at Superb,

witnessed the other complained-of conduct in the Complaint. Id. at ¶¶ 230-232, 305;5 see also

ECF Docket Entry 12-1 at 3 (“... it should come as no surprise to hear from me, especially since I

was also locked out of my office at Superb. … I’ve been going to Superb since December, 2022,

and have maintained an office there for over a month ...”).

       Such conduct including, when on August 3, 2023, Plaintiffs contacted the Nassau County

Police Department to remove Deo and others from Superb because numerous banks complained

vehicles were double-floored, prompting a physical audit of all vehicles there, and over 100

vehicles were missing with $760,0000.00 in vehicles double-floored by Deo.6 See Declaration of

Bruce Novicky (“Novicky Decl.”) at ¶ 3. During the time the police were present in response to

his complaint, Bruce Novicky (“Novicky”), the Chief Operating Officer (“COO”) of Superb,

observed Thomasson coming and going from the dealership, and learned that Thomasson

absconded with files and a lamp from his office inside Superb. See Novicky Decl. ¶¶ 4, 6.

       Immediately preceding these events, on July 25, 2023, Thomasson had already been

representing Superb, a plaintiff herein, as its attorney, appearing and filing an Answer on Superb’s

behalf in a separate case, Shorey v. Superb Motors Inc., et ano.; Case No.: 1:23-cv-3885 (ENV)

(RER). See Shorey ECF Docket Entry 15.7 Shorey was a consumer fraud case for a vehicle

purchased in March 2023, during the time Deo worked for Superb.



5
 The complaint allegations are sworn to by Plaintiff Robert Anthony Urrutia (“Urrutia”) in his
declaration dated August 18, 2023. See ECF Docket Entry 11.
6
 At that time, these were the only improprieties discovered. As revealed in the pleadings, this was
only the tip of the iceberg; an avalanche of fraudulent conduct was thereafter uncovered.
7
  See also ECF Docket Entry 24 (“Please be advised your Honor that my first direct involvement
with Superb Motors was answering a civil Complaint on July 25, 2023 on behalf of Superb Motors
in this very Court, Shorey v. Superb Motors, Inc., et al., Case No. 2:23-cv-03885 (ENV) (RER)”).


                                                 3
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          In Shorey, Thomasson reiterated in a letter dated August 7, 2023 that he represented

Superb. See Shorey ECF Docket Entry 19 (“To be clear: I am the attorney of record for the

Defendant, Superb Motors, Inc.”).       Thomasson was paid by Superb for the legal services he

provided to Superb. See Novicky Decl. at ¶ 8, Exhibit (“Ex.”) A.

          Thomasson also previously represented Northshore in various actions. See Owhonda v.

Credit Acceptance Corporation, No. 2:21-cv-3413 (JMA) (ARL);8 see also Car Gurus v.

Northshore Motors, Index No.: 611780/2022.9

          On August 21, 2023, Plaintiffs alluded to their position that Thomasson cannot serve as

counsel for any party in this case, and that the instant motion was forthcoming. See ECF Docket

Entry 14.

          On September 14, 2023, this Court held oral argument on the Moving Plaintiffs’ motion

for injunctive relief. See Novicky Decl. ¶ 10, Ex. C.

          There, Thomasson represented the Deo Defendants and made the following statements to

this Court:




8
    Northshore is a Defendant in that case.
9
  Separately, and in a growing trend, Thomasson has acted cavalier towards deadlines and
appearances in this case. He failed to appear for a telephonic meet-and-confer after confirming he
would so appear on Tuesday, October 10, 2023. See ECF Docket Entry 64. He then failed to
appear for a virtual initial conference before the Hon. James M. Wicks, U.S.M.J. (“Judge Wicks”)
on October 17, 2023. See ECF Docket Entry 69.

Prior to this time, Thomasson engaged in other inappropriate conduct in this case. On August 15,
2023, Thomasson threatened Emanuel Kataev, Esq. that he would write to the “bar grievance
committee” because that same day, Mr. Kataev sent a demand letter to Thomasson and Deo for
the return of Superb’s vehicles. See ECF Docket Entries 12-3 ¶ 1 and 11-18. Notably, in earlier
correspondence dated August 9, 2023, Thomasson made other inappropriate threats. See Novicky
Decl. at ¶ 9, Ex. B (Thomasson’s August 9, 2023 correspondence stating that “further complaints
to the police will result in the offer of resolution discussed herein to be immediately withdrawn
and without further notice”).


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                I had an office that Mr. Deo asked me to open there [at Superb] so
                that we could see each other as necessary on business going forward
                including what was expected to be the purchase of the remainder of
                Superb as well as the purchase of the Connecticut dealership of
                Mitsubishi controlled by Urrutia and one or two points that he also
                owns up in Connecticut. I had commenced in July and came into
                that office in July starting that work for Superb and there's two or
                three checks for a thousand dollars starting to pay me. … When I
                first started going to Superb in mid July, I had to park out on the
                street. There wasn't a place for me to park one car in July. No place.
                None. The fact of the matter -- and that was for a couple of weeks
                that I was there. But after the lockout, my client called and said,
                Harry, you're not going to believe this, but there are cops here that
                said I stole 102 cars and $760,000.

See Id. at 68:22-69:5, 72:1-7.

         In the state court action previously filed by the IAG Plaintiffs, Thomasson has averred to

his first-hand knowledge concerning events that transpired, which events relate to the allegations

in the Complaint in this action. See NYSCEF Docket Entry 94 ¶¶ 11-15.10

                                 STANDARD OF REVIEW

         Disqualification of an attorney is a matter which rests within the sound discretion of the

court. See Cheng v. GAF Corp., 631 F.2d 1052, 1055 (2d Cir. 1980), vacated on other grounds

and remanded, 450 U.S. 903 (1981).

         A federal court’s power to disqualify an attorney derives from its “inherent power to

‘preserve the integrity of the adversary process.’” See Hempstead Video, Inc. v. Inc. Village of

Valley Stream, 409 F.3d 127, 132 (2d Cir. 2005). “[I]n the disqualification situation, any doubt is

to be resolved in favor of disqualification. See Hull v. Celanese Corp., 513 F.2d 568, 571 (2d Cir.

1975).



10
  The state court action has since been withdrawn without prejudice due to the filing of this case.
See NYSCEF Docket Entries 116 (stipulation of discontinuance without prejudice) and 110 (letter
providing basis for request).



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        Courts consider the New York RPC and the ABA Model Rules of Professional

Responsibility for guidance on a motion for disqualification. Id. at 132; see also Tufamerica, Inc.

v. Codigo Music LLC, 2013 U.S. Dist. LEXIS 65777 (S.D.N.Y. May 7, 2013).11

        Here, there are three (3) bases for which Thomasson should be disqualified: (1) he is a

witness for his clients and as a party; (2) he has a conflict of interest with those Plaintiffs who he

previously represented; and (3) he has a conflict of interest with his co-Defendants.

        A.      Witness-Advocate Rule

        With a few exceptions, a “lawyer shall not act as advocate before a tribunal in a matter in

which the lawyer is likely to be a witness on a significant issue of fact.” See RPC 3.7(a). This rule

is commonly referred to as the “advocate-witness” rule. See Decker v. Nagel Rice LLC, 716 F.

Supp. 2d 228, 232 (S.D.N.Y. 2010). “Courts have interpreted this rule to require disqualification

where” the movant meets its “burden of showing the necessity of the testimony and the substantial

likelihood of prejudice.” See Capponi v. Murphy, 772 F. Supp. 2d 457, 471-72 (S.D.N.Y. 2009).

        “[T]o succeed on a motion for disqualification in these circumstances, the movant must

show ‘specifically how and as to what issues in the case prejudice may occur and that the likelihood

of prejudice occurring is substantial.’ ” Id. at 472 (quoting Lamborn v. Dittmer, 873 F.2d 522, 531

(2d Cir. 1989)). “‘Prejudice’ in this context means testimony that is ‘sufficiently adverse to the

factual assertions or account of events offered on behalf of the client, such that the bar or the client

might have an interest in the lawyer's independence in discrediting that testimony.’” See Murray

v. Metro. Life Ins. Co., 583 F.3d 173, 178 (2d Cir. 2009) (quoting Lamborn, 873 F.2d at 531).




11
  Under Local Civil Rule 1.5(b)(5) of the Local Rules of the United States District Courts for the
Southern and Eastern Districts of New York, “[i]n interpreting the Code, in the absence of binding
authority …, this Court, in the interests of comity and predictability, will give due regard to
decisions of the New York … courts, absent significant federal interests.”


                                                   6
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       Rule 3.7(a) deals with the individual attorney, rather than a law firm, and provides that:

                 [a] lawyer shall not act as advocate before a tribunal in a matter in
                 which the lawyer is likely to be a witness on a significant issue of
                 fact unless:

                        (1) the testimony relates solely to an uncontested issue;

                         (2) the testimony relates solely to the nature and value of
                 legal services rendered in the matter;

                        (3) disqualification of the lawyer would work substantial
                 hardship on the client;

                        (4) the testimony will relate solely to a matter of formality,
                 and there is no reason to believe that substantial evidence will be
                 offered in opposition to the testimony; or

                        (5) the testimony is authorized by the tribunal.

       B.        Prior Representation of Superb Plaintiffs

       An attorney must be disqualified for prior representation if three elements are met: “(1) the

moving party is a former client of the adverse party’s counsel; (2) there is a substantial relationship

between the subject matter of the counsel's prior representation of the moving party and the issues

in the present lawsuit; and (3) the attorney whose disqualification is sought had access to, or was

likely to have had access to, the relevant privileged information in the course of his representation

of the client.” See United States v. Prevezon Holdings Ltd., 839 F.3d 227, 239 (2d Cir. 2016)

(quoting Evans v. Artek Sys. Corp., 715 F.2d 788, 791 (2d Cir. 1983)).

       “Generally,” if these three factors “are satisfied, trial taint is established and no further

analysis is necessary.” Id. at 241.

       C.        Conflict of Interest with co-Defendants

       Thomasson should also be disqualified due to a conflict of interest with the co-Defendants

he represents.




                                                  7
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        With regard to a conflict of interest,12 “motions to disqualify are subject to a high burden

of proof” Hickman v. Burlington Bio–Medical Corp., 371 F. Supp. 2d 225, 229 (E.D.N.Y.2005);

see also Government of India v. Cook Industries, Inc., 569 F.2d 737, 739 (2d Cir.1978), and

“[u]nder the restrained approach adopted by the Second Circuit, relief will be granted only when

the facts concerning the lawyer’s conduct poses a significant risk of trial taint,” particularly when

the “‘attorney is at least potentially in a position to use privileged information concerning the other

side through prior representation ..., thus giving his present client an unfair advantage.’” See

Mitchell v. Metro. Life Ins. Co., Inc., No. 01-CIV.-2112 (WHP), 2002 WL 441194, at *4

(S.D.N.Y. Mar. 21, 2002) (quoting Armstrong v. McAlpin, 625 F.2d 433, 444 (2d Cir.1980),

vacated on other grounds and remanded, 449 U.S. 1106 (1981)); see also Glueck v. Jonathan

Logan, Inc., 653 F.2d 746, 748 (2d Cir.1981).

        As further set forth below, and based on the facts in this case, each of these reasons,

standing alone, warrant disqualification of Thomasson from representing his clients, the co-

Defendants here.



12
    Plaintiffs have standing to raise this argument. See, e.g., Estates Theatres, Inc. v. Columbia
Pictures Indus., Inc., 345 F. Supp. 93, 98 (S.D.N.Y. 1972); Burg v. Brunswick Hospital Center
Inc., 1987 U.S. Dist. LEXIS 16777, 1987 WL 19431, *3 (E.D.N.Y. 1987) ("all attorneys,
regardless of their position in the litigation, have an obligation to call to the Court's attention
possible disciplinary rule violations. . . . Moreover, plaintiff's interest in finality of judgment gives
it standing to complain of conflicts of interest which may impair the favorable results of any trial”);
Adams v. Village of Keesville, 2008 U.S. Dist. LEXIS 61764, 2008 WL 3413867, *10 (N.D.N.Y.
2008) (“Given the court's oversight obligation, a motion to disqualify an attorney, even if brought
by an unaffected party, is an appropriate means by which to bring the … issue to the court's
attention”); see also Skidmore v Warburg Dillon Read L.L.C., 2001 US Dist LEXIS 6101, at *6-
9 (S.D.N.Y. May 10, 2001) (“Ample precedent indicates that a party who is not part of the alleged
conflict has standing to make a disqualification motion”) (citing, e.g., Planning & Control, Inc. v.
MTS Group, Inc., 1992 U.S. Dist. LEXIS 3004 at *2 (S.D.N.Y. Mar. 11, 1992) (holding that a
party, although not a former client, has standing to move to disqualify an attorney); Altschul v.
Paine Webber, 488 F. Supp. 858, 860 n. 1 (S.D.N.Y. 1980) (“Competence to raise disqualification
is not limited to former or aggrieved clients. Ethical misconduct is a matter of public concern
implicating the integrity of the bar . . . .”) (citations omitted)).


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                                       ARGUMENT

     THOMASSON SHOULD BE DISQUALIFIED AS COUNSEL FOR DEFENDANTS

I.     Disqualification is Warranted Under the Witness-Advocate Rule

       RPC § 3.7(a) bars Thomasson from representing the co-Defendants in this case. The rule

is based upon concerns that:

               (1) the lawyer will appear to vouch for his own credibility, (2) the
               lawyer’s testimony will put opposing counsel in a difficult position
               when he has to vigorously cross-examine his lawyer-adversary and
               seek to impeach his credibility, and (3) there may be an implication
               that the testifying attorney may be distorting the truth as a result of
               bias in favor of his client.

See Ramey v. Dist. 141, Int’l Ass’n of Machinists & Aerospace Workers, 378 F.3d 269, 282-83

(2d Cir. 2004) (citation omitted).     Additionally, “when one individual assumes the role of both

advocate and witness it may so blur the line between argument and evidence that the jury’s ability

to find facts is undermined.” Id. (citation, internal quotation marks, and alterations omitted). If the

party moving for disqualification makes specific allegations that raise doubts about whether a

conflict exists, such doubt should be resolved in favor of disqualification. See Felix v. Balkin, 49

F. Supp. 2d 260, 267 (S.D.N.Y. 1999).

       While the witness-advocate rule distinguishes “between an attorney who will be called on

behalf of his client and an attorney who will be called” by another party, see Giuffre v. Dershowitz,

410 F. Supp. 3d 564, 578 (S.D.N.Y. 2019), as set forth below, it is anticipated that both parties

will call Thomasson as a witness here. However, when an attorney is also a party, disqualification

is routinely granted. See Rizzuto v. De Blasio, 2019 WL 1433067, at *6 (E.D.N.Y., 2019)

(granting disqualification where attorney was a direct adversary in related proceedings).13



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   The Rizzuto court’s decision is especially instructive as, here, Thomasson is a direct adversary
in the same proceeding.


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       Courts grant motions to disqualify where there is a substantial likelihood that an attorney’s

testimony will be necessary. See Giuffre v. Dershowitz, 410 F. Supp. 3d 564 (S.D. N.Y. 2019)

(holding, under New York law, that advocate-witness rule required that law firm be disqualified

from representing plaintiff in defamation action, where defamation claim was based in part on

defendant's statement that plaintiff conspired with firm to extort him, plaintiff's complaint referred

to conversations and communications between firm attorney and defendant in which defendant

asserted that plaintiff was mistaken in her claim, and defendant announced his intention to take

depositions of firm lawyers to help prove truth of his extortion assertion).             Crucially, a

disqualification motion that is brought prior to commencement of discovery eliminates the

prejudice to the advocate-witness client. See Id. (citing Gorbaty v. Wells Fargo Bank, N.A., 2011

WL 318090, at *3 (E.D.N.Y. Feb. 1, 2011) (following initial conference) and Gleason v. Zocco,

941 F. Supp. 32, 36 (S.D.N.Y. 1996) (granting motion to disqualify “immediately after the action

was commenced” would make “prejudice... insignificant”). When considering the “necessity”

prong of the disqualification inquiry, “a court should examine factors such as the significance of

the matters, weight of the testimony, and availability of other evidence.” See John Wiley & Sons,

Inc. v. Book Dog Books, LLC, 126 F. Supp. 3d. 413, 421-22 (S.D.N.Y. 2015). “For purposes of

considering a disqualification motion, the Court’s inquiry does not focus on whether the attorney

possesses discoverable knowledge, but rather whether trial of the case will in fact require his

testimony.” Id.; see also Purgess v. Sharrock, 33 F.3d 134, 144 (2d Cir. 1994) (“Disqualification

may be required only when it is likely that the testimony to be given by [counsel] is necessary”).

“[T]he key inquiry in connection with the motion to disqualify is the potential prejudice to the

client ... arising from the involvement of the ‘attorney-witness.’” See GBML LLC v. M2B

Investors, Ltd., No. 22-CV-3138 (RPK), 2022 WL 3566549, at *2 (E.D.N.Y. Aug. 18, 2022).




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       Here, it is anticipated that Thomasson will testify on his own behalf and be called by his

co-Defendants to testify at trial; even if not, he will be called to testify by Plaintiffs. Thomasson

will have to testify about the misappropriated funds from Libertas which he laundered through his

attorney escrow account and turned over to Deo. Thomasson will also be called as a witness to

testify about his connection to, and his conversations with, Detective Marx, who threatened

Plaintiff Joshua Aaronson with arrest if he did not turn over funds misappropriated by Deo. See

ECF Docket Entry 65 ¶¶ 158-165. Only Thomasson can testify concerning these events.

       The foregoing testimony would be significantly useful for Thomasson’s co-Defendants

because Defendants will rely on their counsel – an officer of the court – to corroborate their

position. This testimony is also necessary because Plaintiffs will rely on it to establish that

Thomasson was in cahoots with the remaining Defendants and improperly used his escrow account

to achieve his co-Defendants’ fraudulent ends. Moreover, Thomasson is the only witness who can

testify about the origin of the funds received from Libertas into his attorney escrow account and

where those funds went thereafter. Thomasson will also have to testify about his observations of

his co-Defendants related to the allegations in the Complaint. He was an eyewitness to the vehicles

his co-Defendants removed from Superb’s lot, and the discussions that precipitated those and other

decisions made by Defendants. All of this testimony is necessary and crucial to Plaintiffs’ claims

and presumably to Defendants’ defenses thereto. As a result, Thomasson should be disqualified.

See Research Foundation for State University of New York v. Telluric Labs, LLC, 2022 WL

16789970, at *4 (E.D.N.Y., 2022) (“[W]here an attorney is the ‘sole representative for [a party] at

numerous meetings and conversations negotiating the terms of [an agreement]’ at issue in the

litigation, disqualification is likewise warranted” (quoting Multi-Juice, S.A. v. Snapple Beverage

Corp., No. 02-CV-4635, 2003 WL 1961636, at *7 (S.D.N.Y. 2003))).




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        The purpose of disqualification under the rule is not merely logistical, but is to ensure that

the attorney can provide representation that is uncompromised by his involvement in the

underlying facts of the case, preserving his objectivity and the integrity of the adversary process.

See Rizzuto v. De Blasio, No. 17-CV-7381 (ILG) (ST), 2019 WL 1433067, at *8 (E.D.N.Y. Mar.

29, 2019) (citing First NBC Bank v. Murex, LLC, 259 F. Supp. 3d 38, 56 (S.D.N.Y. 2017)); see

also Ardemasov v. Citibank, N.A., 14 F. Supp. 3d 39, 48 (D. Conn. 2014) (“An advocate who also

ought to be called as a witness hurts his client because the advocate's ability to objectively assess

his client's case may become clouded.”) (citation and internal quotation marks omitted); Lemberg

Law, LLC v. eGeneration Marketing, Inc., 2020 WL 2813177, at *26–27 (D.Conn., 2020) (“Sergei

Lemberg is not an individual litigant in the case, but rather counsel for a legal entity, the law firm

Lemberg Law LLC. By being called to testify about his personal knowledge of the facts, he might

find it difficult to maintain his objectivity and professionalism on behalf of his client”).

        After all, “[i]f a lawyer is both counsel and witness, he becomes more easily impeachable

for interest and thus may be a less effective witness.” See MacArthur v. Bank of New York, 524

F. Supp. 1205, 1208 (S.D.N.Y. 1981) (quoting “Ethical Consideration 5-9” (“EC 5-9”) of

American Bar Association Committee on Ethics and Professional Responsibility, Formal Opinion

339 (Jan. 31, 1975)). Moreover, “[a]n advocate who becomes a witness is in the unseemly and

ineffective position of arguing his own credibility.” Id. (quoting EC 5-9). Thus, regardless of the

fact that counsel's interests lie on the same side of the action as those of his client, “[t]he roles of

an advocate and of a witness are inconsistent; the function of an advocate is to advance or argue

the cause of [the party he represents], while that of a witness is to state facts objectively.” Id.

(quoting EC 5-9). Accordingly, setting aside the fact Thomasson is a party, and the fact that his

interests are aligned with the co-Defendants he represents, he must nonetheless be disqualified.




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        Thomasson’s testimony will also likely be necessary to bolster that of his co-Defendant,

Deo, who is a convicted federal felon who pled guilty to fraud, and will have little, if any,

credibility with this Court based on his conviction and the mountain of evidence showing he

committed massive frauds at not one, but two, separate dealership groups. See United States v.

Deo, No. 1:10-cr-631 (JGK), ECF Docket Entry 31.

        Deo’s modus operandi at both of Defendants’ dealerships was the same: gain the trust of

the principals, establish control over the financials, obtain funding and loans from every available

credit facility, and abscond with the funds before anyone could catch on. There is thus no doubt

that Deo’s testimony will be given little weight such that Thomasson’s testimony will be required.

        As such, Thomasson’s testimony is necessary for this separate reason. Meanwhile, the

evidence shows that Thomasson was in a unique position to observe Deo’s conduct at the

dealership and had extensive dealings with him. For example, Thomasson can testify as to where

Superb’s vehicles went when they were removed from the lot; indeed he admits that the Defendants

are in possession of Superb’s vehicles. See ECF Docket Entry 13 at 2 (“everyone involved …

knows that 20+ cars belonging to Superb are … located at Deo’s leasehold … My client will not

dispose of any automobiles in his possession belonging to Superb”).

        Because Thomasson was able to observe these events, it is reasonably likely that he

observed other events and was privy to other discussions that he can testify about to either

corroborate or discredit his co-Defendants’ testimony. It follows, therefore, that there exists a

substantial likelihood that Thomasson’s testimony would likely be prejudicial to the Defendants

and Plaintiffs.

        Accordingly, Thomasson must be disqualified under the witness-advocate rule.




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II. Disqualification is Warranted due to Thomasson’s Prior Representation of Plaintiffs

       Thomasson must also be disqualified because he previously served as counsel for both

Superb and Northshore, both of whom are now suing him. Thomasson has not sought, and neither

Superb nor Northshore has given Thomasson consent, to represent parties adverse to it. Further,

during the time Thomasson acted as counsel to Superb and Northshore, he obtained information

from each of them concerning their respective operations and other details that he would never

have come to know absent his prior representation of Superb and Northshore, all of which is central

to the instant litigation. He must thus be disqualified on this ground, as well.

       The threshold issue for successive conflicts under New York ethical rules and the Second

Circuit is whether Defendants had an attorney-client relationship with the lawyer or firm sought

to be disqualified. See Zappin v. Comfort, 2019 WL 409831, at *3 (S.D.N.Y. Feb. 1, 2019).

       When determining whether an attorney-client relationship exists, a court considers several

factors such as (1) whether a fee arrangement was entered into or a fee paid; (2) whether a written

contract or retainer agreement exists indicating that the attorney accepted representation; and (3)

whether the purported client believes that the attorney was representing him and whether this belief

is reasonable. See BT Holdings, LLC v. Vill. of Chester, 2015 WL 8968360, at *4 (S.D.N.Y. Dec.

14, 2015) (citation omitted). “In certain circumstances, disqualification may be appropriate when

an attorney gains access to the confidences even of someone who is not formally a client.” See

Blue Planet Software, Inc. v. Games Int’l, LLC, 331 F. Supp. 2d 273, 276 (S.D.N.Y. 2004).

       Where there is successive representation, an attorney may be disqualified if:

               (1) the moving party is a former client of the adverse party’s
                   counsel;

               (2) there is a substantial relationship between the subject matter of
               the counsel’s prior representation of the moving party and the issues
               in the present lawsuit; and



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                (3) the attorney whose disqualification is sought had access to, or
                was likely to have had access to, relevant privileged information in
                the course of his prior representation of the client.

See Hempstead Video Inc., 409 F.3d at 133 (quoting Evans v. Artek Sys. Corp., 715 F.2d 788, 791

(2d Cir. 1983)). “The substantial relationship test is met if the relationship between issues in the

prior and present cases is patently clear, identical or [is] essentially the same.” See Scantek Med.,

Inc. v. Sabella, 693 F. Supp 2d 235, 239 (S.D.N.Y. 2008) (quoting Gov’t. of India v. Cook Indus.,

Inc., 569 F.2d 737, 739-40 (2d Cir. 1978)) (internal alterations omitted).

         Additionally, when a lawyer jointly represents a company and an employee, the party

seeking disqualification must show the “attorney was in a position where he could have received

information which his former client might reasonably have assumed the attorney would withhold

from his present client.” See Allegaert v. Perot, 565 F.2d 246, 250 (2d Cir. 1977). This standard

is derived from RPC 1.9(a), which provides that “[a] lawyer who has formerly represented a client

in a matter shall not thereafter represent another person in the same or a substantially related matter

in which that person’s interests are materially adverse to the interests of the former client.” See

RPC § 1.9.

         “[D]isqualification [under these circumstances] has been ordered only in essentially two

kinds of cases,” including “where the attorney is at least potentially in a position to use privileged

information concerning the other side through prior representation.” See Bobal v. Rensselaer

Polytechnic Inst., 916 F.2d 759, 764-65 (2d Cir. 1990)14 (alterations omitted); accord Guangcheng

Chen v. Matsu Fusion Rest. Inc., No. 19 Civ. 11895, 2020 WL 6135764, at *1 (S.D.N.Y. Oct. 16,

2020).



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   The other kind is where an attorney's conflict of interests in violation of RPC undermines the
court's confidence in the vigor of the attorney's representation of his client. See Bobal, 916 F.2d
at 764-65.


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       “A ‘substantial relationship’ exists where facts pertinent to the problems underlying the

prior representation are relevant to the subsequent representation.” Id.; accord Guangcheng Chen,

2020 WL 6135764, at *2.        “The substantial relationship test removes the need for courts to

make direct inquiry into whether confidential information was actually transmitted.” See Prevezon,

839 F.3d at 241. Instead,

               The Court will assume that during the course of the former
               representation confidences were disclosed to the attorney bearing on
               the subject matter of the representation. It will not inquire into their
               nature and extent. Only in this manner can the lawyer’s duty of
               absolute fidelity be enforced and the spirit of the rule relating to
               privileged communications be maintained.

Id.; accord Network Apps, LLC v. AT&T Mobility LLC, 598 F. Supp. 3d 118 (S.D.N.Y. 2022).

       To avoid this, the opposing party must demonstrate that no such confidences were

disclosed; for example, time sheets might show de minimis work. See Cypress Holdings, III, LP

v. Sport-BLX, Inc., No. 22-CIV.-1243 (LGS), 2022 WL 4239937, at *4 (S.D.N.Y. Aug. 23, 2022);

First NBC Bank v. Murex, LLC, 259 F. Supp. 3d 38, 71 (S.D.N.Y. 2017) (finding that former

counsel might use confidential information against former client even where “[m]uch of Murex’s

confidential data was also sent to the EPA”); Gogo Apparel, Inc. v. True Destiny, LLC, No. 19-

CIV.-5693 (GBD), 2020 WL 5578336, at *2 (S.D.N.Y. Sept. 17, 2020) (finding a conflict based

on inference that “[i]n order to competently represent [the former client] on these issues, a

reasonable attorney would be expected to acquire a minimum base of knowledge” that is relevant

to the present case).   In Shorey, Superb was accused of consumer fraud by an individual who

purchased a vehicle from the dealership. Thomasson entered an appearance in that case and filed

an answer denying the allegations there. See Shorey ECF Docket Entry 15. Further, Thomasson

maintained an office within Superb and it can therefore be inferred he had access to Superb’s

internal documents.



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       In this case, Thomasson indisputably had access to both Superb’s and Northshore’s15

dealerships – as he admittedly maintained an office there – there can be no question that he had

access to relevant privileged information. See Tradewinds Airlines, Inc., 2009 WL 1321695 (“An

attorney's prior access to relevant but non-discoverable information gives her an unfair advantage

in litigation against a former client”). This is bolstered by the fact that Thomasson represented

Superb in Shorey and Northshore in Owhonda, both consumer fraud cases, while operating his law

practice out of Superb’s dealership and conducting meetings at Northshore’s dealership. Given

Thomasson’s access to both dealerships, there is a great risk he had access to privileged

information.   As such, Thomasson must be disqualified on this basis, as well.

III.   Disqualification is Also Warranted Due to Thomasson’s Conflict of Interest with the
       Defendants

       Where an attorney has an interest adverse to a client, a “per se” standard applies and the

attorney must be disqualified unless he or she can demonstrate “‘at the very least, that there will

be no actual or apparent conflict in loyalties or diminution in the vigor of his representation.’” See

Revise Clothing, Inc. v. Joe’s Jeans Subsidiary, Inc., 687 F. Supp. 2d 381, 388-89 (S.D.N.Y. 2010).

       This standard is based on the ethical principle that an attorney must exercise independent

judgment on behalf of a client. Id.

       RPC 1.7(a) states in pertinent part that a lawyer shall not represent a client if the

representation will involve the lawyer in representing differing interests or a reasonable lawyer

would conclude that there is a significant risk that the lawyer’s professional judgment on behalf of

a client will be adversely affected by the lawyer’s own financial, business, property or other

personal interests.



15
  See NYSCEF Docket Entry 59 ¶¶ 9-10 (affirming representation of Northshore and that
Thomasson held many meetings there).


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       Indeed, “an attorney may not place himself in a position where a conflicting interest may,

even inadvertently, affect, or give the appearance of affecting, the obligation of the professional

relationship.” See Galindo v State Farm Fire & Cas. Co., 2014 N.Y. Misc. LEXIS 1816, 9-11

(Sup. Ct. Apr. 15, 2014) (quoting Roddy v. Nederlander Producing Co. of America, Inc., 96

A.D.3d 509 (1st Dept. 2012)). As explained in Galindo:

               An attorney must avoid not only the fact, but even the appearance,
               of representing conflicting interests. [T]he greatest trust between
               [people] is the trust of giving counsel. This unique fiduciary reliance
               . . . is imbued with ultimate trust and confidence. Furthermore,[t]he
               duty to deal fairly, honestly and with undivided loyalty
               superimposes onto the attorney-client relationship a set of special
               and unique duties, including maintaining confidentiality, avoiding
               conflicts of interest,. . . and honoring the clients’ interests over the
               lawyer’s. Indeed, the lawyer may not place himself in a position
               where a conflicting interest may, even inadvertently, affect, or give
               the appearance of affecting, the obligations of the professional
               relationship.

Id. (citing Flores v. Willard J. Price Assocs., LLC, 20 A.D.3d 343 (1st Dept. 2005).

       A violation of Rule 1.7(a), where an attorney puts his or her own personal interests above

his former clients’ interests has resulted in disqualification of counsel. See Crews v. County of

Nassau, 2007 U.S. Dist. LEXIS 6572 (E.D.N.Y. Jan. 30, 2007);16




16
  In Crews, the court held: “Majid's testimony is likely to be necessary because it concerns matters
of significance to plaintiffs' claims, would carry substantial weight in this case, and could not be
substituted with other evidence. Many of plaintiffs' claims rely on a showing of defendants'
knowing or intentional conduct in arresting, prosecuting, and confining Crews despite knowledge
of his actual innocence. … Establishing that defendants delayed in informing Majid of the actual
robbery date and then did not act even after being told of Crews' alibi are both critical facts in
plaintiffs' attempt to prove defendants actually intended to mislead and to harm plaintiffs. As such,
Majid's testimony is necessary to plaintiffs' case because first, it is undisputed that the only direct
evidence regarding the conversations between Majid and the DA's Office is the testimony of Majid
himself and of the ADAs, respectively. Second, as discussed supra, defendants dispute both the
timing and the substance of these alleged conversations, leaving Majid's testimony as the only
direct evidence supporting plaintiffs' depiction of certain critical events-specifically, the alleged
phone conversations between Majid and the DA's office. …”


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       Similarly, in Galindo, the court held: “It is clear that it is more than ‘likely’ that plaintiff's

attorney will be called as a witness to testify with regard to significant issues of fact concerning

the very substance of this lawsuit, i.e. the submission of an invoice for payment by defendant for

work allegedly performed by an entity under which he himself conducted business. Attorney Orr's

testimony with regard to the invoice submitted on behalf of his business is necessary inasmuch as

defendant relied on its evaluation of that claim in denying plaintiff coverage for having submitted

a fraudulent claim, and, clearly, such testimony would be damaging to plaintiff. Attorney Orr

appears to be the only person with knowledge of the work allegedly provided to plaintiff by his

company, which is a significant factual issue in this matter, thus he is a necessary witness and must

be disqualified.” See 2014 N.Y. Misc. LEXIS 1816.

       Here, Thomasson’s status as a Defendant warrants disqualification because there is a

likelihood he will act in his own personal interest to the detriment of the co-Defendants.

Thomasson is incontrovertibly intertwined in the tangled web of lies Defendants have spun, as he

directly facilitated the fraud upon Superb by assisting Deo in transferring converted funds from

Northshore to Urrutia. See ECF Docket Entry 65 ¶¶ 155-165. He then observed firsthand in his

office at Superb how Deo engaged in a massive fraud for Deo’s and his personal benefit. Notably,

Thomasson was also a Defendant in the state court action filed by the IAG Plaintiffs.17 See

NYSCEF Docket Entries 1 and 107. In other cases, Thomasson downplays this fact. See

Owhonda, ECF Docket Entry 41 (“I am only named in that action … to the extent that corporate

funds were once in my escrow account (although they were moved prior to any action being filed

and it is expected that I will be dismissed as a Defendant once the Motions are decided”).




17
  As set forth supra, judicial notice may be taken of documents filed in other cases and other
courts. See Int'l Star Class Yacht Racing Ass’n, 146 F.3d at 70.


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        However, the claims brought against him based on his incontrovertible allegiance to Deo,

entrenched by his operating his practice out of Superb, an automobile dealership, makes it evident

that there is an apparent and implied appearance of conflict between Thomasson’s interests and

that of the remaining Defendants he seeks to improperly represent.

       Thomasson must be disqualified for this reason as well.

                                     CONCLUSION

       Based on the foregoing, Plaintiffs respectfully request that the Court issue an Order

disqualifying Thomasson from representing the Defendants in this case, together with such other

and further relief as this honorable Court deems just, equitable, and proper.

 Dated: Lake Success, New York
        October 18, 2023                          Respectfully submitted,

                                                  MILMAN LABUDA LAW GROUP PLLC

                                                  By: /s Emanuel Kataev, Esq.__________
                                                  Jamie S. Felsen, Esq.
                                                  Emanuel Kataev, Esq.
                                                  3000 Marcus Avenue, Suite 3W8
                                                  Lake Success, NY 11042-1073
                                                  (516) 328-8899 (office)
                                                  (516) 328-0082 (facsimile)
                                                  jamiefelsen@mllaborlaw.com
                                                  emanuel@mllaborlaw.com

                                                  Attorneys for Plaintiffs
                                                  Superb Motors Inc.,
                                                  Team Auto Sales LLC, and
                                                  Robert Anthony Urrutia




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Dated: New York, New York
       October 18, 2023             CYRULI SHANKS & ZIZMOR LLP

                                    _______/s_________________________
                                    Jeffrey Ruderman, Esq.
                                    420 Lexington Avenue, Suite 2320
                                    New York, NY 10170-0002
                                    (212) 661-6800 (office)
                                    (347) 379-4622 (direct dial)
                                    (212) 661-5350 (facsimile)
                                    jruderman@cszlaw.com

                                    Attorneys for Plaintiffs
                                    189 Sunrise Hwy Auto LLC,
                                    Northshore Motor Leasing, LLC,
                                    1581 Hylan Blvd Auto LLC,
                                    1580 Hylan Blvd Auto LLC,
                                    1591 Hylan Blvd Auto LLC,
                                    1632 Hylan Blvd Auto LLC,
                                    1239 Hylan Blvd Auto LLC,
                                    2519 Hylan Blvd Auto LLC,
                                    76 Fisk Street Realty LLC,
                                    446 Route 23 Auto LLC,
                                    Island Auto Management, LLC,
                                    Brian Chabrier,
                                    Joshua Aaronson, and
                                    Jory Baron




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